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                           IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF KANSAS
                                  AT KANSAS CITY, KANSAS


FRANK CEPEDA, JR.,

                  Plaintiff,

-vs-                                                    Case No.

TEREX CORPORATION,
a foreign corporation,

            Defendant.
______________________________

                                             COMPLAINT

         COMES NOW Plaintiff, by and through counsel Bradley A. Pistotnik and J. Corey Sucher of

Brad Pistotnik Law, P.A. and for his claims against Defendant, alleges and states:

                        COUNT I - GENERAL ALLEGATIONS OF FACTS

       1. The Plaintiff is a resident of Kansas.

       2. The Defendant is a foreign corporation with a principal place of business in Westport,

          Connecticut and, upon information and belief, may be served through its registered agent,

          Corporation Service Company, located at 50 Weston Street, Hartford, Connecticut 06120-

          1537.

       3. This action is brought pursuant to 28 U.S.C. Section 1332(a) on the basis of diversity of

          citizenship and the matter in controversy exceeds the sum of Seventy-Five Thousand and

          NO/100 Dollars ($75,000.00), exclusive of interest and costs.

       4. This Court has proper venue and jurisdiction over the persons and subject matter.

       5. Defendant’s Driver, Clyde Shelton (Driver), was operating in the course and scope of his

          employment with Defendant at the time and moment of the motor vehicle collision that is
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   the subject matter of this complaint (the collision).

6. For all allegations brought in this complaint, the actions and omissions of Driver are the

   actions and omissions of Defendant under the doctrines of Respondeat Superior and

   Vicarious Liability.

7. Defendant applied for motor carrier authority through the United States Department of

   Transportation (DOT) to operate as a motor carrier under DOT number 415754.

8. On or about the 21st day of July, 2017, Plaintiff was operating a motor vehicle northbound

   on 2nd Avenue in Ford County, Kansas and, while properly yielding to traffic prior to

   attempting a left turn onto westbound Wyatt Earp Boulevard, Driver negligently and

   carelessly rear-ended Plaintiff while following too closely, thereby proximately causing a

   collision, along with injuries and damages to Plaintiff.

9. Officer M. Faulkner of the Dodge City Police Department opined that the sole contributing

   circumstance to the collision was Driver’s inattention (code 24).

10. Defendant’s commercial motor vehicle involved in the collision was dispatched, supervised,

   maintained, monitored, operated, and controlled by the department of operations and/or the

   fleet management of Defendant.

11. Driver was hired, qualified, supervised, and trained by Defendant.

12. Defendant was operating a fleet of commercial motor vehicles, trucks, and/or other vehicles

   as a motor carrier as defined by the Federal Motor Carrier Safety Regulations (FMCSR).

13. At all times material hereto, Defendant and Driver were operating under the authority of the

   Department of Transportation (DOT) and the DOT license number noted above.

14. 49 CFR § 390.3(e)(1) & (2) provide that every Driver and employee shall be instructed

   regarding and shall comply with all applicable regulations contained in the FMCSR.



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15. 49 CFR § 390.5 provides that "motor carrier" means a for-hire motor carrier or a private

   motor carrier. The term includes a motor carrier's agents, officers, and representatives, as

   well as employees responsible for hiring, supervising, training, assigning, or dispatching

   Drivers.

16. Defendant was at all material times a "motor carrier" and an "employer" of Driver as defined

   in 49 CFR §390.5.

17. Driver was at all material times an "employee" of Defendant as defined in 49 CFR §390.5.

18. 49 USC § 14704(a)(2) provides that "A carrier . . . is liable for damages sustained by a person

   as a result of an act or omission of that carrier. . . in violation of this part.”

19. 49 USC § 14101(a) provides that "a motor carrier shall provide safe and adequate service,

   equipment and facilities." Defendant and Driver negligently and carelessly failed to provide

   safe and adequate service, which proximately caused the injuries and damages to Plaintiff.

20. The FMSCRs are located at 49 CFR § 390 et seq. 40 C.F.R. § 391.1(a) and (b) state, “(a)

   The rules in this part establish minimum qualifications for persons who drive commercial

   motor vehicles, as, for, or on behalf of motor carriers. The rules in this part also establish

   minimum duties of motor carriers with respect to the qualification of their Drivers. (b) An

   individual who meets the definition of both a motor carrier and a Driver employed by that

   motor carrier must comply with both the rules in this part that apply to motor carriers and the

   rules in this part that apply to Drivers.” Per these sections, the FMCSRs set forth the

   applicable minimum industry standard of care, including minimum qualifications for Drivers

   and minimum duties for Drivers.




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   COUNT II - THE FEDERAL MOTOR CARRIER SAFETY REGULATIONS
    SET FORTH THE APPLICABLE MINIMUM INDUSTRY STANDARD
      OF CARE TO ESTABLISH NEGLIGENCE AND LACK OF CARE

21. Plaintiff re-alleges the allegations contained in paragraphs one (1) through twenty (20) above

   as though fully set forth herein.

22. The allegations contained in this complaint regarding the FMCSRs are set forth to establish

   that Defendant and Driver failed to comply with the industry minimum standards of care per

   the FMCSRs in order to establish negligence on the part of Defendant and Driver; Plaintiff

   does not allege any private causes of action for violations of the FMCSRs.

23. The actions and omissions of Driver are the actions and omissions of Defendant under the

   doctrines of respondeat superior and vicarious liability and are negligent and careless for the

   following reasons:

              A. Inattentive operation of a commercial motor vehicle;

              B. Following too closely;

              C. Operation of a commercial motor vehicle while using a cellular phone, GPS,

                  PDA, mapping or other message device;

              D. Driving while using Google maps, Apple Maps, or other cellular mapping

                  navigational software program that served to pull Driver’s attention away

                  from the traveled roadway;

              E. Speeding in excess of what was reasonable for the then existing conditions of

                  stopped traffic;

              F. Failing to keep a proper lookout;

              G. Failing to exercise ordinary and reasonable care;

              H. Failing to warn;



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         I. Operation of a commercial motor vehicle without first ascertaining that

            movement can be safely made;

         J. Failing to meet the minimum duties and industry standards of care set forth

            under 49 CFR § 381 through 399;

         K. Failing to meet the minimum duties and industry standards of care set forth

            under 49 CFR § 392.3 by operation of a commercial motor vehicle while the

            Driver's ability or alertness is impaired;

         L. Failing to meet the minimum duties and industry standards of care set forth

            under 49 CFR § 391.11(a) by operation of a commercial motor vehicle when

            the Driver is not properly qualified pursuant to this regulation;

         M. Failing to meet the minimum duties and industry standards of care set forth

            under 49 CFR § 383.113 by operating a fleet vehicle and commercial motor

            vehicle when the Driver does not possess and demonstrate the safe driving

            skills required by this regulation;

         N. Failing to meet the minimum duties and industry standards of care set forth

            under 49 CFR § 383.111 by operating a fleet vehicle and commercial motor

            vehicle when the Driver did not have sufficient basic knowledge of safe

            operating regulations, including the effects of fatigue, safety systems

            knowledge, basic knowledge of basic control maneuvers, and basic

            information on hazard perception and when and how to make emergency

            maneuvers;

         O. Failing to meet the minimum duties and industry standards of care set forth

            under 49 CFR § 383.110 by operation of a fleet vehicle and commercial



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                  motor vehicle without the knowledge and skills necessary to operate the

                  same safely;

              P. Upon information and belief, violation of K.S.A. 8-15,111, which places a

                  duty upon Drivers not to operate a motor vehicle while using a wireless

                  communications device to write (i.e., type), send, or read a written

                  communication including, but not limited to, a text message, instant

                  message, and/or or electronic mail;

              Q. Negligence and negligence per se for violation of laws, statutes, ordinances

                  and regulations of the State of Kansas and/or the County of Ford and/or the

                  City of Dodge City; and

              R. For other actions and omissions that will be supplemented after the receipt of

                  full and complete discovery in this case.

         COUNT III - NEGLIGENT HIRING, TRAINING, SUPERVISION
                        AND RETENTION CLAIMS

24. Plaintiff re-alleges the allegations contained in paragraphs one (1) through twenty-three (23)

   above as though fully set forth herein.

25. Upon information and belief, Defendant is negligent and careless for failing to meet the

   minimum duties and industry standards of care set forth in 49 CFR § 391.11, 49 CFR §

   391.21, and 49 CFR § 391.23 by failing to properly qualify Driver, by failing to properly

   make appropriate investigation and inquiries of Driver’s background in the prior ten (10)

   year period, and by failing to obtain the federally required information on the application for

   employment of Driver with appropriate ten (10) year background checks, criminal history

   checks, and obtaining actual responses from prior employers.

26. Upon information and belief, Defendant is negligent for failing to immediately terminate,

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   suspend, or reprimand Driver.

27. Upon information and belief, Defendant is negligent for failing to retrain Driver in defensive

   driving skills, hazard perception skills, and accident avoidance techniques.

28. Defendant is negligent and careless for failing to meet the minimum duties and industry

   standards of care set forth in 49 C.F.R. § 391.31 by failing to properly safety train Driver in

   safety skills, accident avoidance techniques, and hazard perception skills, and also by failing

   to then administer Driver comprehensive written and road tests in order to acquire an

   understanding of whether Driver understood said safety training.

29. Defendant’s actions and omissions in hiring Driver, establishes negligent hiring, retention,

   supervision, and training of Driver and supervisory managers above Driver.

30. Defendant and its respective agents, employees, and representatives were careless and

   negligent for negligent hiring, training, supervision, and retention of Driver and his

   supervisory personnel. Defendant negligently and/or carelessly hired unfit employees and

   agents and then failed to properly train, supervise, and monitor them and, additionally,

   Defendant retained employees and agents that were not performing their jobs properly or

   adequately. This includes, but is not limited to, Driver and his supervisory personnel.

   Defendant has an obligation to use reasonable care in selecting and retaining its

   employees, agents, and independent contractors, and was negligent in hiring, selecting,

   training, monitoring, and retaining its employees, agents, and independent contractors,

   including, but not limited to, Driver. Defendant negligently and carelessly failed to use

   reasonable care in the hiring, selecting, training, monitoring, and retention of its

   employees and agents, including, but not limited to, Driver.             Defendant knew or

   reasonably should have known that it was not hiring safe and competent employees and



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   agents and negligently and carelessly violated its duty to hire only safe and competent

   employees. Defendant knew or reasonably should have known that its employees and

   agents, including, but not limited to Driver, created and were an undue risk of harm to

   Plaintiff, and negligently and carelessly failed to reprimand, retrain, or terminate its

   employees, agents, and independent contractors, including Driver and his supervisory

   personnel.

31. Defendant’s hiring, training, monitoring, supervision, and retention of unsafe and

   incompetent employees, agents, and independent contractors, including Driver and his

   supervisory personnel, proximately caused the injuries to Plaintiff.

32. Defendant failed to have adequate safety management protocols in place.

33. Defendant failed to properly create and implement a proper safety program that would

   require Driver to be adequately tested in written form to determine that he had appropriate

   defensive driving skills.

34. Defendant, upon information and belief, failed to test Driver for alcohol and drug

   consumption after the collision.

       COUNT IV - RATIFICATION IS ESTABLISHED BY EXPRESS OR
                       IMPLIED RATIFICATION

35. The plaintiff re-alleges the allegations contained in paragraphs one (1) through thirty-four

   (34) above as though fully set forth herein.

36. Defendant has ratified all conduct of Driver either expressly or impliedly. Upon information

   and belief, Driver was not reprimanded, suspended, terminated, or retrained following the

   collision.

                COUNT V - INJURIES AND DAMAGES TO PLAINTIFF

37. Plaintiff re-alleges the allegations contained in paragraphs one (1) through thirty-six (36)

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         above as though fully set forth herein.

     38. As a further direct and proximate result of the negligence and carelessness of Defendant and

         Driver, as aforesaid, Plaintiff has received injuries to his body, including, but not limited to,

         his spine/back, neck, head, arms, wrist, shoulders, jaw, chest, and hands/fingers. Plaintiff

         has suffered/is suffering with pain, tenderness, stiffness, weakness, and/or limited range of

         motion throughout these parts of his body; carpel tunnel syndrome; multiple c-spine disk

         injuries; thoracic outlet syndrome; radiating pain into his upper back, shoulder, arms, hands,

         and fingers; headaches; numbness and tingling in arms and shoulders; and muscle spasms in

         jaw and neck; among other symptoms and diagnoses. Plaintiff has had to undergo numerous

         medical appointments, physical therapy, x-rays, CT scans, MRIs, trigger point injections, an

         epidural steroid injection, a nerve conduction study, wearing of wrist brace, surgery to treat

         thoracic outlet syndrome, among other treatments. Plaintiff may have had aggravation to a

         pre-existing condition, was otherwise injured, and has been damaged with pain and suffering,

         mental anguish, loss of time, loss of enjoyment of life, medical expenses, economic loss,

         permanent disfigurement, and permanent disability. In the future, Plaintiff will suffer with

         pain and suffering, mental anguish, loss of time, loss of enjoyment of life, medical expenses,

         economic loss, permanent disfigurement, and permanent disability. For the aforementioned

         damages, Plaintiff has been damaged in an amount in excess of SEVENTY-FIVE

         THOUSAND DOLLARS ($75,000.00).

 39. Plaintiff additionally brings a claim for the loss of consortium suffered by his spouse.

       WHEREFORE, Plaintiff prays for a judgment against Defendant in an amount in excess of

SEVENTY-FIVE THOUSAND DOLLARS ($75,000.00), for costs herein, and for such other and

further relief as the Court deems just and equitable.



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                                               BRAD PISTOTNIK LAW, P.A.

                                               /s/ Bradley A. Pistotnik
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                                               Attorneys for Plaintiff

                DEMAND FOR PRETRIAL CONFERENCE AND JURY TRIAL

          COMES NOW Plaintiff and demands a pretrial conference and a trial by jury in this matter.

                                               /s/ Bradley A. Pistotnik
                                               Bradley A. Pistotnik, #10626

                            DESIGNATION FOR PLACE OF TRIAL

          COMES NOW Plaintiff and designates Kansas City, Kansas as the place for trial in this
matter.

                                               /s/ Bradley A. Pistotnik
                                               Bradley A. Pistotnik, #10626




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